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                                                                                 FILED
                             UNITED STATES DISTRICT COURT        \1/~
                              MIDDLE DISTRICT OF FLOIUD            ...                     0   ,

                                 JACKSONVILLE DIVISION • II Jb, 29 r, J : ' .


UNITED STATES OF AMERICA

\'5.                                                            CASE NO. 3:09-cr-131-J-20MCR

ALBERTANO HERNANDEZ-SANCHEZ


                                             ORDER

       This maller is before this Court on Defendant's Motion for Sentence Relief Under the Federal

Prison Bureau Non-Violent Offender Relief Act of 2003 (Dkt. 217).

       This lllotion appears to be a rcqucsllo the Bureau of Prisons, PUfSU<ll1lI0 ils good time polic)',

for early release. This Court is, therefore, without authority in this matter.

       Accordingl)', il is ORDERED:

       Defendant's MOl ion for Sentence Relief Under the Federal Prison Bureau 'on-Violent

OITcndcr Rclier Act or2003 (Dkl. 217) is DENIED.



       DONE AND ORDERED al Jacksonville, Florida, Ihis              2 ?/<fay of Junc, 2011.


                                                        !fA '. E"se LE          ER
                                                           'l'fED sfAlES DISTRICT JUDGE

Copies to:
Albcrtano Hernandez-Sanchez, pro se
Mac D, Heavener, III, Esq.
